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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 V.                                                   §               CASE NO. 6:14cr58(03)
                                                      §
 DREW MICHAEL MIZZLES                                 §

      ORDER ADOPTING THE AMENDED REPORT AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

 Amended Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #181].

 The Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

 approve his plea agreement. He further recommended that the undersigned finally adjudge

 Defendant as guilty on Count One of the Indictment against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Amended Report and Recommendation should be accepted. It is accordingly ORDERED

 that the Amended Report and Recommendation [Clerk’s doc. #181] of the United States Magistrate

 Judge is ADOPTED.




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            It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the

     Court. Further, the plea agreement is approved by the Court, conditioned upon a review of the

     presentence report. It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the

     Court finds the Defendant GUILTY of Count One of the Indictment in the above-numbered cause

     and enters a JUDGMENT OF GUILTY against the Defendant as to Count One of the Indictment.

      SIGNED this 21st day of January, 2016.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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